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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 24-CV-81355-RLR

  JANIE DOE, a minor child, by and through
  M.B. and S.B., her Parents and Natural Guardians,
  and Individually,

  Plaintiffs,

  v.

  PALM BEACH COUNTY SCHOOL BOARD a/k/a
  SCHOOL DISTRICT OF PALM BEACH COUNTY,
  and DAX RANKINE, Individually,

  Defendants.
  ________________________________________/

         DEFENDANT, DAX RAKINE’S ANSWER AND AFFIRMATIVE DEFENSES

          COMES NOW the Defendant, DAX RANKINE (hereinafter “RANKINE”) by and

  through his undersigned attorney and hereby files this Answer and Affirmative Defenses to

  Plaintiff’s First Amended Complaint [DE 22] and would state as follows:

                                    I.      INTRODUCTION

          1.    Admitted that the Plaintiff has alleged a claim of sexual assault and molestation.

  Defendant denies all remaining allegations and demands strict proof thereof.

          2.    Defendant, RANKINE admits that he was a physical education teacher at Sunset

  Palms Elementary School during the period of 2017 through 2020. Defendant is without specific

  knowledge as to the remaining allegations and they are therefore denied.

          3.    The Defendant denies the allegations contained in ¶3 and demands strict proof

  thereof.




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         4.      The Defendant denies the allegations contained in ¶4 and demands strict proof

  thereof.

         5.      The Defendant is without knowledge as to the allegations contained in ¶5,

  therefore denied.

         6.      The Defendant would admit for jurisdictional purposes only at this time.

         7.      The Defendant would admit for jurisdictional purposes only at this time.

         8.      The Defendant is without knowledge as to the allegations contained in ¶8 so

  Defendant is unable to admit or denied.

         9.      The Defendant is without knowledge as to the allegations contained in ¶9 so

  Defendant is unable to admit or deny.

         10.     The Defendant would admit.

         11.     The Defendant would admit that during the period of 2017 and 2018 Defendant

  was a physical education teacher at Palms Elementary School and employee of the Palm Beach

  County School Board. Defendant is without specific information to admit or deny the remaining

  allegations and would therefore deny.

         12.     The Defendant would admit that for the period of 2018 to 2019 Defendant was an

  employee of the Palm Beach County School Board and was a physical education teacher at

  Sunset Palms Elementary School, the Defendant is unable to respond to other allegations so they

  are denied and demand strict proof thereof.

         13.     The Defendant would admit that for the period of 2019 to 2020 Defendant was an

  employee of the Palm Beach County School Board and was a physical education teacher at

  Sunset palm Elementary School, the Defendant is unable to respond to other allegations so they

  are denied and demand strict proof thereof.



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         14.     The Defendant denies the allegations in ¶14 and demands strict proof thereof.

         15.     The Defendant denies the allegations in ¶15 and demands strict proof thereof.

         16.     The Defendant denies the allegations in ¶16 and demands strict proof thereof.

         17.     The Defendant denies the allegations in ¶17 and demands strict proof thereof.

         18.     The Defendant denies the allegations in ¶18 and demands strict proof thereof.

         19.     The Defendant is without knowledge as to the allegations contained in ¶19,

  therefore denied.

         20.     The Defendant is without knowledge as to the allegations contained in ¶20,

  therefore denied.

         21.     The Defendant denies the allegations in ¶21 and demands strict proof thereof.

         22.     The Defendant denies the allegations in ¶22 and demands strict proof thereof.

         23.     The Defendant denies the allegations in ¶23 and demands strict proof thereof.

         24.     The Defendant denies the allegations in ¶24 and demands strict proof thereof.

         25.     The Defendant denies the allegations in ¶25 and demands strict proof thereof.

         26.     The Defendant denies the allegations in ¶26 and demands strict proof thereof.

         27.     The Defendant denies the allegations in ¶27 and demands strict proof thereof.

         28.     The Defendant denies the allegations in ¶28 and demands strict proof thereof.

         29.     The Defendant denies the allegations in ¶29 and demands strict proof thereof.

         30.     The Defendant denies the allegations in ¶30 and demands strict proof thereof.

         31.     The Defendant denies the allegations in ¶31 and demands strict proof thereof.

         32.     The Defendant denies the allegations in ¶32 and demands strict proof thereof.

         33.     The Defendant denies the allegations in ¶33 and demands strict proof thereof.




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         34.     The Defendant is without sufficient information to either admit or deny whether

  Janie Doe needed to use the restroom on the day in question. All remaining allegations in the

  ¶34 are denied and demand strict proof thereof.

         35.     The Defendant denies the allegations contained in ¶35 and demands strict proof

  thereof.

         36.     The Defendant denies the allegations contained in ¶36 and demands strict proof

  thereof.

         37.     The Defendant denies the allegations contained in ¶37 and demands strict proof

  thereof.

         38.     The Defendant denies the allegations contained in ¶38 and demands strict proof

  thereof.

         39.     Admitted that during the year of 2020 Sunset Palms Elementary School moved to

  online classes because of the global pandemic.

         40.     Admitted that initially the Defendant’s students were given a link to perform

  exercises at home as opposed to attending class with Defendant, however denied as students did

  have contact with the Defendant through Google classrooms when the Defendant returned to the

  school to teach remotely.

         41.     Admitted.

         42.     The Defendant would admit that the Florida Board of Education did deny

  Defendant’s application initially, however unknown as to the exact date.

         43.     The Defendant admits in part that the Department of Education reached its

  conclusion to deny Defendant’s application for an educator’s license based on three prior




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  incidents which occurred. Defendant would deny the allegations as raised in ¶43 sub a, b, and c

  and demands strict proof thereof.

         44.       Admitted that the Department of Education initially denied Defendant’s

  application for an educator’s license. The Defendant is without specific knowledge as to the

  remaining allegations contained in ¶44 and therefore denied.

         45.       Admitted that the Defendant appealed the Board of Education’s decision and

  ultimately entered into a resolution with the Board of Education and was issued his educator’s

  certificate. “Numerous conditions” is undefined, therefore Defendant is unable to respond

  accordingly and would deny that portion of ¶45.

         46.       Defendant would admit that the School Board did employ Rankine. Denied as to

  the remaining portions of the paragraph.

         47.       Defendant would admit the portion of ¶47 regarding the fact that he was arrested

  by the Palm Beach County Sheriff’s Office on the dates stated, but does not specifically recall

  the allegation as to his speed.

         48.       The Defendant would deny the allegations contained in ¶48 and demand strict

  proof thereof.

         49.       The Defendant would deny the allegations contained in ¶49 and demand strict

  proof thereof.

         50.       The Defendant is without knowledge as to the allegations contained in ¶50,

  therefore denied.

         51.       The Defendant is without knowledge as to the allegations contained in ¶51,

  therefore denied.




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         52.     Admitted that Defendant requested his attorney when taken to the jail and refused

  a breath sample at that time.

         53.     The Defendant denies the allegations contained in ¶53 and demands strict proof

  thereof.

         54.     “At that point” is undefined therefore Defendant is unable to respond accordingly.

  Defendant does admit that he was arrested.

         55.     The Defendant did report his arrest to the principal of his school. The Defendant

  is without knowledge as to the remaining portions of the allegations contained in ¶55 and

  therefore denied.

         56.     The Defendant would admit that Sunset Palms Elementary School continued to

  employ Defendant after his arrest, however the Defendant would deny any allegation that he

  stated he had kids in the car because there were no children in the car, or that he had stated he

  was taking any kids to go drinking. The Defendant would deny that statement in its entirety.

         57.     The Defendant is without knowledge as to the allegations contained in ¶57 and

  therefore denied and demands strict proof thereof.

         58.     The Defendant is without knowledge as to the allegations contained in ¶58 and

  therefore denied and demands strict proof thereof.

         59.     The Defendant is without knowledge as to the allegations contained in ¶59 and

  therefore denied and demands strict proof thereof.

         60.     The Defendant is without knowledge as to the allegations contained in ¶60 and

  therefore denied and demands strict proof thereof.




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         61.      Defendant deferred all communications regarding the case involving the Palm

  Beach County Sheriff’s Office and DCF investigators to his legal counsel at the time. The

  Defendant would admit that he denied all allegations throughout the investigation.

         62.      The Defendant is without knowledge as to the allegations contained in ¶62 and

  therefore denied and demands strict proof thereof.

         63.      The Defendant is without knowledge as to the allegations contained in ¶63 and

  therefore denied and demands strict proof thereof. Defendant does admit that he is currently

  employed by the School Board.

         64.      The Defendant is without knowledge as to the allegations contained in ¶64 and

  therefore denied and demands strict proof thereof.

         65.      The allegations in ¶65 draw a legal conclusion and/or a misstatement of the law,

  Defendant is without the specific legal knowledge to admit the allegations raised in ¶65 as they

  request a legal conclusion and therefore would deny same and demands strict proof thereof.

                                             COUNT II

         76.      Defendant hereby realleges each and every response in ¶1-65 above as if fully set

  forth herein.

         77.      Defendant denies the allegations in ¶77 and demands strict proof thereof.

         78.      Defendant denies the allegations in ¶78 and demands strict proof thereof.

         79.      Defendant denies the allegations in ¶79 and demands strict proof thereof.

         80.      Defendant denies the allegations in ¶80 and demands strict proof thereof.

         81.      Defendant denies the allegations in ¶81 and demands strict proof thereof.

         82.      Defendant denies the allegations in ¶82 and demands strict proof thereof.

         83.      Defendant denies the allegations in ¶83 and demands strict proof thereof.



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         84.      Defendant denies the allegations in ¶84 and demands strict proof thereof.

         85.      Defendant denies the allegations in ¶85 and demands strict proof thereof.

                                             COUNT III

         86.      Defendant hereby realleges each and every response in ¶1-65 above as if fully set

  forth herein.

         87.      Defendant denies the allegations in ¶87 and demands strict proof thereof.

         88.      Defendant denies the allegations in ¶88 and demands strict proof thereof.

         89.      Defendant denies the allegations in ¶89 and demands strict proof thereof.

         90.      Defendant denies the allegations in ¶90 and demands strict proof thereof.

         91.      Defendant denies the allegations in ¶91 and demands strict proof thereof.

         92.      Defendant denies the allegations in ¶92 and demands strict proof thereof.

                                             COUNT IV

         93.      Defendant hereby realleges each and every response in ¶1-65 above as if fully set

  forth herein.

         94.      Defendant denies the allegations in ¶94 and demands strict proof thereof.

         95.      Defendant denies the allegations in ¶95 and demands strict proof thereof.

         96.      Defendant denies the allegations in ¶96 and demands strict proof thereof.

         97.      Defendant denies the allegations in ¶97 and demands strict proof thereof.

         98.      Defendant denies the allegations in ¶98 and demands strict proof thereof.

         99.      Defendant denies the allegations in ¶99 and demands strict proof thereof.

         100.     Defendant denies the allegations in ¶100 and demands strict proof thereof.




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                                    AFFIRMATIVE DEFENSES

            1.   The Defendant would assert that the Plaintiff’s cause of action or a portion of

  Plaintiff’s cause of action may be barred by the applicable statute of limitations to a case of this

  nature.

            2.   The Defendant would assert that the Plaintiff’s cause of action may be or is barred

  by the doctrine of latches.

            3.   The Defendant is entitled to a set off of all monies that have been paid or that are

  payable by all collateral sources for expenses, bills or other obligations incurred as a result of the

  subject incident.

            4.   The Plaintiff’s damages should be reduced for the Plaintiff’s failure to mitigate

  her damages.

            5.   The Defendant would assert that the Plaintiff’s damages are not reasonable,

  related or necessary.

            6.   The Defendant would assert that the Plaintiff has failed to state a cause of action

  for assault against Defendant as the allegations made in the Plaintiff’s Complaint are untrue.

            7.   The Defendant would assert that the Plaintiff has failed to state a cause of action

  for battery against Defendant, RANKINE as the allegations proffered to support that cause of

  action are untrue.

            8.   The Defendant would assert that the Plaintiff has failed to state a cause of action

  against Defendant for intentional infliction of emotional distress.

            9.   Any recovery by Plaintiff must be reduced to the extent of benefits paid or

  payable to Plaintiff from collateral sources as specified by statute.




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           WHEREFORE, the Defendant respectfully requests this Honorable Court enter judgment

   in its favor, trial by jury on all issues so triable and any further relief deemed just and proper.



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                                                   __/s/Charles D. Thomas_____________
                                                   Charles D. Thomas, Esq.
                                                   Florida Bar No.: 190896




                                           Certificate of Service

   It is hereby certified that on the 21st day of January, 2025, I electronically filed the foregoing
   with the Clerk of the Court by using the CM/ECF. I also certify that the foregoing document is
   being served this day on all counsel of record or pro se parties identified on the attached Service
   List in the manner specific, either via transmission of Notice of Electronic filing generated by
   CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
   to receive electronically Notice of Electronic filing.


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                        FOR THE SOUTHERN DISTRICT OF FLORIDA

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